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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 SANDRA DRAKE, as personal         )
 Representative of the Estate of   )
 Jeannette Lentz,                  )
                                   )
       Plaintiff,                  )
                                   )
       v.                          )                            Case No. 23-cv-3639- RJD
                                   )
 KANDY L. GIBSON, COMPASS SENIOR )
 LIVING, LLC, CSL ILLINOIS I, LLC, )
 and CSL-WATERLOO, LLC,            )
                                   )
       Defendants.

                                               ORDER

 DALY, Magistrate Judge:

        Plaintiff’s Complaint alleges that Defendant Kandy Gibson sexually assaulted Jeannette

 Lentz at Garden Place of Waterloo, an assisted living facility in which Jeannette Lentz resided.

 Doc. 1, pp. 1-3. Plaintiff further alleges that Defendants Compass Senior Living, LLC, CSL

 Illinois I, LLC, and CSL-Waterloo, LLC (“Compass Defendants”) hired and supervised Gibson.

        At Plaintiff’s request, today the Court held a discovery dispute conference. Plaintiff sent

 Requests for Production to the Compass Defendants, seeking text messages from Compass

 employees regarding the alleged sexual assault. However, the requests are for messages sent to

 and from the employees’ personal, non-company owned phones.                Plaintiff also wants the

 Compass Defendants to force their former and current employees to sign authorizations to allow

 Plaintiff to obtain their text messages regarding the assault from their cell phone carriers.

        Plaintiff’s requests are improper. There are rules regarding the discovery of information

 from non-parties (e.g., Federal Rule of Civil Procedure 45); Plaintiff is attempting to circumvent

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 those rules. The Court agrees with the Compass Defendant that even if Federal Rule of Civil

 Procedure 34 could be construed as imposing a burden upon the Compass Defendants to obtain

 their employees’ personal messages, forcing them to do so in this case would be unreasonable.

        The Compass Defendants cited a federal statute (18 U.S.C.§§2510-2523, “Electronic

 Communications Privacy Act”) and state statute (820 ILCS 55/10, “Right to Privacy in the

 Workplace”) in support of their objections. Plaintiff did not bother to review these statutes prior

 to the discovery dispute conference that she requested. The Court is not convinced that either

 statute applies to Plaintiff’s Requests. Nonetheless, Plaintiff’s Requests are otherwise improper

 under Federal Rules of Civil Procedure 26 and 34 and the corresponding objections made by the

 Compass Defendants are SUSTAINED.

 IT IS SO ORDERED.

 DATED: February 7, 2025


                                                      s/ Reona J. Daly
                                                      Hon. Reona J. Daly
                                                      United States Magistrate Judge




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